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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3018
                                     )
           V.                        )
                                     )
DORIS JEAN WILLIAMS,                 )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     1. The defendant’s unopposed oral motion to continue the
plea hearing is granted. The change of plea hearing is continued
from May 9, 2008 to May 29, 2008 at 2:30 p.m.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     DATED this 8th day of May, 2008.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
